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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

     TOHO CO., LTD.,

               Plaintiff,                                   Civil Action No.: 1:21-cv-06087

     v.                                                     Judge Jorge L. Alonso

     THE PARTNERSHIPS AND                                   Magistrate Judge Susan E. Cox
     UNINCORPORATED ASSOCIATIONS
     IDENTIFIED ON SCHEDULE “A”,

               Defendants.

                                     NOTICE OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                  52                                  GuangYun Gongsi
                 189                                   LianManMaoYi
                  30                                    DazzlingShine
                  67                                    Gurbanton US
                  43                                     golden zeng
                  35                                     DreamsBig
                  24                                      Christ-EZ
                  28                                 CZSD Trading Co Ltd


DATED: December 29, 2021                               Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       111 West Jackson Boulevard, Suite 1700
                                                       Chicago, Illinois 60604
                                                       Telephone: 312-971-6752
                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 29, 2021 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
